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               EXHIBIT C
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                          IN THE UNITED STATES DISTRICT
                        COURT FOR THE SOUTHERN DISTRICT
                            OF TEXAS HOUSTON DIVISION


NALEX ENERGY, LLC,                          §
    Plaintiff,                              §
                                            §   CIV. NO. 4:22-cv-01824
VS.                                         §
                                            §   FED. R. CIV. P. 9(h)
LAURITZEN BULKERS A/S,                      §   Admiralty Claim
    Defendant.                              §


LAURITZEN BULKERS A/S,                      §
Defendant and Third-Party Plaintiff,        §
                                            §
VS.                                         §
                                            §
KIRBY INLAND MARINE LP,                     §
     Third-Party Defendant.                 §




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                   AFFIRMATION OF PIERRE DE JAGER
      I, PIERRE DE JAGER, AFFIRM AND STATE THE FOLLOWING:


1.0   INTRODUCTION

1.1   I, Pierre de Jager (MChem, MRSC, RSci), am the Director of the Oil and Chemicals
      Department at CWA International Ltd (“CWA”). During my 12 years at CWA, I have
      dealt with multiple matters involving various bunker fuel oil grades. I attach a copy of
      my Curriculum Vitae to this report as APPENDIX I.


1.2   My specific experience, relative to this dispute, includes the investigation of over
      250 matters regarding off-specification bunker fuel as well as attending several joint
      witnessed analyses, including investigation of several alleged elevated catfine matters
      as well as giving evidence in London Arbitration, London High Court, and Singapore
      Arbitration.

1.3   I have been asked to provide comments on the subject matter involving a parcel of
      Very Low Sulphur Fuel Oil (VLSFO), totalling 260.41 MT, stemmed by the vessel
      SHANGHAI from the bunker barge KIRBY 27735 on 25 April 2022 at New Orleans,
      USA. However, and whilst analysis of barge line samples found the fuel to meet ISO
      8217:2017 specifications, analysis of vessel manifold and vessel heavy fuel oil (HFO)
      vessel tank samples found the subject bunkers to be off-specification due to high
      catfine (aluminium and silicon) contents, resulting in Owners of the vessel refusing to
      consume the subject fuel.

1.4   Specifically, I have been asked to comment upon the results of the fuel testing, test
      method precision and the procedure for bunker fuel sampling during delivery.




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2.0         ISO 8217:2017 TABLE 2 ANALYSIS OF VESSEL MAINFOLD AND BARGE
            LINE SAMPLES


2.1         The results of full ISO 8217:2017 Table 2 analysis of the vessel manifold and barge
            line samples are provided in Table 1 (see below).


                                           Vessel Manifold      BDN (Barge
                                                                                 BDN (Barge           ISO
                                            Continuous         External Line
                                                                                   External        8217:2017
                                                 Drip             Sample)
                                                                                 Line Sample)      RMG 380
       Parameter                 Units        0273939 /      0153995 (original
                                                                                   1191920             cSt
                                               0300780         seal 1191919)
                                                                                   12/10/22       Specification
                                              25/04/22           12/10/22
                                                                                    NMK              Limit
                                               Intertek            NMK
 Density at 15°C                 kg/m3          931.0              931.1            931.0           Max. 991.0
    Kinematic
                                   cSt          37.56             43.45             42.23            Max. 380
 Viscosity at 50°C
                                       °
    Flash Point                        C       > 70.0              106               106              Min. 60
                                       °
    Pour Point                         C         27                 24                24              Max. 30
  Micro Carbon
                                % m/m           3.07               3.09              3.16             Max. 18
     Residue
        Ash                     % m/m           0.074             0.018             0.020           Max. 0.100
       Water                    % v/v           0.15              <0.05             <0.05           Max. 0.50
      Sulphur                   % m/m           0.47              0.479             0.486           Max. 0.50
        TSP                     % m/m           0.05              0.06               0.07           Max. 0.10
       TSA                      % m/m             -               0.04               0.05               -
      Sodium                    mg/kg            48                16                 13            Max. 100
    Vanadium                    mg/kg             7                 5                  5            Max. 350
      Nickel                    mg/kg             7                 7                  7                -
    Aluminium                   mg/kg            60                14                 13                -
      Silicon                   mg/kg            58                17                 17                -
  Aluminium +
                                 mg/kg          118                 31               30               Max. 60
      Silicon
     Calcium             mg/kg            29                  17                  17          Max. 30*
       Zinc              mg/kg            7                    5                   5          Max. 15*
   Phosphorous           mg/kg            8                    5                   5          Max. 15*
       CCAI                 -            822                 820                 820          Max. 870
                           mg
      Acid Number                       0.20                 0.21                0.26          Max. 2.5
                         KOH/g
           * Phosphorus, calcium and zinc are markers for used lube oil (ULO). A fuel is only considered to
           be off-specification for ULO when either calcium and zinc or calcium and phosphorus are at levels
           higher than the advised maximum specification limit.


               Table 1. ISO 8217:2017 Table 2 analysis results of the vessel manifold and barge
                                    line samples from the SHANGHAI



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2.2   Review of the results for the two BDN (barge line) samples tested at NMK indicates
      that both samples were found met ISO 8217:2017 Table 2 specifications, including for
      catfine content. Furthermore, the results of the two BDN samples were found to be
      comparable to one another, which would suggest that the two samples were likely
      representative of the same bunker fuel.


2.3   It is also the case that save from ash, catfines, sodium and calcium content, the other
      results (including fingerprint parameters such as density, viscosity, sulphur content,
      vanadium and nickel content) determined for the vessel manifold sample previously
      tested also compared well with the BDN samples. In view of the closeness of the
      fingerprint values determined across the three samples tested, it would support a view
      whereby the vessel manifold and the two BDN samples likely represented the same
      bunker fuel.


2.4   It should be noted that continuous drip manifold samples would be the most
      representative samples for determining the quality of the subject bunker fuel as
      supplied to a vessel. This method of sampling is also stated in ISO 13739, the sampling
      method which ISO 8217:2017 refers to with respect to taking samples for quality
      verification. By contrast, a “spot” sample is a fuel sample taken at a discrete point in
      time during the bunkering operation and would only represent the bunkers flowing
      over the sampling point at the time the sample was taken and would not be
      representative of the entire bunker stem delivered.


2.5   By way of background, continuous manifold drip samples are taken throughout the
      entire bunkering operation and are generally collected in a 5-litre bulk bag. Following
      completion of the bunkering operation, the bulk sample will be sub-divided into
      individual samples of circa 750ml. The expectation is thus that results obtained from
      analysing the individual samples obtained via the continuous drip method from the
      same manifold should be very similar to each other. See section 4 below which
      contains a detailed discussion of taking a continuous drip sample of bunkers.


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2.6    In view of the continuous drip sampling methodology, the expectation is that if
       samples were drawn correctly from both the barge and the vessel manifolds during the
       same operation, that the results of the samples should be comparable.


2.7    Ash content, catfines content, sodium and calcium content are all parameters that
       would be considered as non-homogenous species in bunker fuels. If the bulk sample
       (drawn by the continuous drip method) is not properly homogenised prior to decanting
       the individual samples, it is possible for the level of non-homogeneous species to differ
       significantly between the individual samples, even though they are all borne from the
       same bulk continuous manifold drip sample.


2.8    Whilst the vessel manifold sample is described as a continuous drip manifold sample,
       and therefore is likely to have been drawn in the manner set out at paragraph 2.5 above,
       the BDN samples are described as barge external line samples. If the BDN samples
       were spot samples, I advise that such samples would only have represented the
       material flowing over the sampling point at the time the sample was taken and would
       not be representative of the entire stem delivered.


2.9    Given that the fingerprint parameters of the vessel manifold and barge line samples
       were found to be comparable, apart from the non-homogenous species, including
       catfines, this would suggest, in my opinion, that it is probable that the subject fuel was
       non-homogenous in nature.


2.10   I also consider it unlikely that residues of a previous stem in the bunker hose used to
       transfer the fuel from the barge to the vessel played a significant, if any, contributory
       part. Firstly, it is worth noting at this juncture that the transfer hoses are self-draining,
       meaning that only trace amounts of the previously transferred fuel would remain
       present. Further, if the hose did contain significant remnants of previous fuel, which
       is deemed unlikely, it would have affected a number of parameters and not just catfine
       content.


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2.11       Lastly, it is worth noting that the maximum permissible catfine content under ISO
           8217:2017 is 60 mg/kg. Therefore, in order to achieve a final catfine content of 118
           mg/kg and considering the limited capacity of the flexible transfer hose, it must have
           contained material with a catfine content orders of magnitude higher than 60 mg/kg.

2.12       In addition to the barge and vessel manifold samples, further testing of an upper,
           middle and lower level (UML) composite sample taken from HFO tank #3 at Intertek
           Bahamas (that is the Vessel’s fuel tank #3) also indicated that the catfine content of
           the subject bunkers on the vessel were high, with results of same provided in Table 2
           (see below).


                                                               SHANGHAI
                                                                                        ISO 8217:2017
                                                              HFO Tank #3
                                                                                         RMG 380 cSt
                     Parameter               Units           UML Composite
                                                                                         Specification
                                                                  07/05/22
                                                                                             Limit
                                                                  Intertek
                                                   3
                   Density at 15°C           kg/m                  899.9                  Max. 991.0
            Kinematic Viscosity at 50°C        cSt                 40.19                   Max. 380
                                               °
                     Flash Point                C                  108.0                    Min. 60
                                               °
                     Pour Point                 C                    30                     Max. 30
               Micro Carbon Residue         % m/m                   3.30                    Max. 18
                         Ash                % m/m                  0.023                  Max. 0.100
                        Water                % v/v                  0.20                   Max. 0.50
                       Sulphur              % m/m                   0.50                   Max. 0.50
                         TSA                % m/m                   0.10                       -
                       Sodium                mg/kg                   61                    Max. 100
                     Vanadium                mg/kg                    7                    Max. 350
                     Aluminium               mg/kg                   49                        -
                       Silicon               mg/kg                   50                        -
                Aluminium + Silicon          mg/kg                   99                     Max. 60
                       Calcium               mg/kg                   27                    Max. 30*
                         Zinc                mg/kg                   16                    Max. 15*
                    Phosphorous              mg/kg                    8                    Max. 15*
                        CCAI                     -                 789.5                   Max. 870
                    Acid Number           mg KOH/g                  0.25                   Max. 2.5
                 Hydrogen Sulphide           mg/kg                 <0.40                   Max. 2.00
           * Phosphorus, calcium and zinc are markers for used lube oil (ULO). A fuel is only considered to
           be off-specification for ULO when either calcium and zinc or calcium and phosphorus are at levels
           higher than the advised maximum specification limit.

                    Table 2. ISO 8217:2017 Table 2 analysis results of the HFO tank #3 UML
                                   composite sample from the SHANGHAI

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2.13   By way of background, upper, middle and lower level samples will be taken at 1/6th,
       1/2 and 5/6th the depth of the tank, following which an equal proportion UML
       composite sample will be prepared. UML composite samples are therefore considered
       representative samples which should provide an accurate indication of the overall
       quality of the tank sampled.


2.14   The above, combined with the fact that HFO tank #3 contained only 0.117 MT of ROB
       (that is bunkers “remaining on board” in tank #3) prior to the bunker operation, makes
       it unlikely that any significant commingling of bunkers upon loading played a role,
       and supports the view that the bunkers were delivered to the vessel with an inherently
       high catfine content. The reports of elevated catfine material within the UML
       composite sample (from Vessel fuel tank #3) would also support the view that the
       barge samples did not accurately represent the overall quality of the fuel oil delivered.

2.15   On basis of the above, in my opinion, the results of the analysis indicate that the
       differences in catfine content between the vessel manifold and barge line samples are
       likely due fuel being non-homogeneous in nature.


3.0    TEST METHOD PRECISION


3.1    When comparing results of two samples with one another, we can determine whether
       or not results are significantly different (and therefore likely different due to reasons
       other than inherent test method variance) by looking at the repeatability or the
       reproducibility of the method for the parameter in question.


3.2    Reproducibility is the value equal to or below which the absolute difference between
       two single test results obtained in the normal and correct operation of the same method
       on identical test material but under different test conditions (different operator,
       different apparatus, different laboratory) that can be expected to lay with a probability
       of 95%.


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3.3   For IP 501 (the test method used for determining elements such as aluminium and
      silicon), the reproducibility for aluminium content is 0.337x (where x is the average
      of the results) and for silicon content is 0.332x (where x is the average of the results).
      The reproducibility for catfine content (Al + Si) would therefore be the sum of the two
      individual reproducibility.

3.4   With respect to the barge line samples, three samples were analysed for catfine content,
      with one of the samples being analysed twice. The four results reported were 17 ppm,
      30 ppm, 31 ppm and 34 ppm and the reproducibility of the results was 8 – 11 ppm
      depending on which results are being compared.

3.5   Whilst the two NMK (30 and 31 ppm) and the Intertek (34 ppm) results for the barge
      line samples were all found to be within reproducibility of each other, the result for
      the barge line sample tested at AmSpec (17 ppm) was not, and therefore same would
      be considered significantly different to the other three barge line sample results.

3.6   Nevertheless, it should be kept in mind that catfines are a non-homogeneous
      contaminant in bunker fuels hence the results of same can be affected by samples not
      being properly homogenised prior to sub-sampling, either after the bulk sample was
      drawn or in the laboratory when a portion of fuel is taken for the test.

3.7   However, given that the barge samples are simply referred to as external line samples
      rather than continuous drip samples, it is probable that, as mentioned at paragraph 2.8
      above, the samples from the barge are ‘spot’ samples, which are only representative
      of the product at the point and time the sample is taken, rather than the entire fuel oil
      stem (as is the case with continuous drip samples).

3.8   On basis that the barge samples are likely spot samples, I would not be surprised that
      the catfine results do not compare well with the vessel manifold and vessel tank
      samples. As discussed above, catfines are non-homogenous and as such would not be
      evenly distributed within a fuel, meaning that the various spot samples would



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       essentially be representative of different portions of fuel which may have different
       levels of catfines.


3.9    All four barge line sample results were found to be outside reproducibility when
       compared with the vessel manifold continuous drip sample, indicating that the barge
       samples were significantly different to the vessel manifold sample insofar catfine
       content was concerned.

3.10   With the other fingerprint parameters of the fuel being comparable between the vessel
       manifold and barge line samples, it is likely that the barge line samples underestimated
       the catfine content of the fuel delivered due to the manner in which the barge samples
       were drawn. If the fuel contained high levels of catfines and most of them had settled
       in the barge tanks, some parts of the fuel would have high levels of catfines whereas
       others would have low levels of catfines, the latter of which was likely sampled when
       the external line (spot) samples were drawn by the barge. (See paragraph 2.4 above
       for a description of a spot sample).

3.11   With regards to the results for the shoretank ST 910 sample, I advise that same is not
       considered to be equivalent to continuous manifold drip samples drawn during
       bunkering, results of which are provided in Table 3 (see overleaf) along with the vessel
       manifold sample for comparison.

3.12   Bunker barges do not wash their tanks regularly and generally tend to load fuel oil
       cargoes on top of existing ROB amounts of previous fuel oil products, hence there is
       a possibility that commingling of different fuel oil stems can occur and thereby affect
       the quality of the fuel oil. Additionally, the condition of the shoreline connecting the
       shore tank and the jetty header where the barge will load the fuel oil from is
       unknown, meaning that the introduction of an unknown quality of fuel through this
       mechanism cannot be eliminated either.


3.13   However, in the subject matter, it is the case that the shoretank ST 910 sample does in
       fact show comparable results to that of the vessel manifold sample save for catfine and
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         ash content (the latter likely being affected as a result of the high catfines). As such,
         there is no indication of any significant commingling or introduction of another
         product into the subject bunkers between loading from the shoretank and at the point
         of delivery to the vessel.

3.14     Nevertheless, whilst the shoretank sample cannot be used to evidence the quality of
         the fuel at the point of delivery to the vessel, the results can still be used to evidence
         the non-homogenous nature of the subject fuel.


                                                                   SHANGHAI
                                                 Shoretank ST
                                                                  Vessel Manifold     ISO 8217:2017
                                                       910
                                                                  Continuous Drip      RMG 380 cSt
       Parameter                      Units     UML Composite
                                                                     0273939 /         Specification
                                                 After Transfer
                                                                      0300780             Limit
                                                 30 March 2022
                                                                   25 April 2022
     Density at 15°C            kg/m3            926.7                 931.0            Max. 991.0
  Kinematic Viscosity at
                                  cSt            42.55                 37.56             Max. 380
          50°C
                                  °
       Flash Point                 C        100.6 (213 °F)             > 70.0             Min. 60
                                  °
       Pour Point                  C               27                    27               Max. 30
  Micro Carbon Residue         % m/m              3.28                  3.07              Max. 18
           Ash                 % m/m             0.020                 0.074            Max. 0.100
          Water                  % v/v            0.05                  0.15             Max. 0.50
        Sulphur                % m/m             0.460                  0.47             Max. 0.50
          TSP                  % m/m              0.04                  0.05             Max. 0.10
          TSA                  % m/m              0.03                    -                  -
         Sodium                 mg/kg              25                    48              Max. 100
       Vanadium                 mg/kg               5                     7              Max. 350
       Aluminium                mg/kg              10                    60                  -
         Silicon                mg/kg              20                    58                  -
  Aluminium + Silicon           mg/kg              30                   118               Max. 60
        Calcium                 mg/kg              19                    29              Max. 30*
          Zinc                  mg/kg               5                     7              Max. 15*
      Phosphorous               mg/kg               2                     8              Max. 15*
          CCAI                      -             816                   822              Max. 870
      Acid Number             mg KOH/g            0.16                  0.20             Max. 2.5
   Hydrogen Sulphide            mg/kg              <1                     -              Max. 2.00
        * Phosphorus, calcium and zinc are markers for used lube oil (ULO). A fuel is only considered to
        be off-specification for ULO when either calcium and zinc or calcium and phosphorus are at levels
        higher than the advised maximum specification limit.


           Table 3. ISO 8217:2017 Table 2 analysis results of the shore tank ST 910 sample
                 and vessel manifold continuous drip samples from the SHANGHAI
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3.15   Similarly, the barge tanks 3P and 3S samples, which reported catfine contents of 30
       ppm and 24 ppm respectively, are also not considered to be equivalent to the samples
       drawn during bunkering.

3.16   Whilst the barge tank samples, which were drawn from the bunker barge KIRBY
       27735 on 5 April 2022 after loading from shore tank ST 910, are noted to be running
       samples, due to the viscous nature and presence of non-homogenous species in the fuel
       (including catfines), it is unlikely that such samples would be representative of the
       overall bulk fuel. It is also the case that the barge tank samples were tested for catfine
       content only and not any other ISO 8217:2017 Table 2 parameter, hence it is not
       possible to compare fingerprint parameters to confirm whether the barge samples and
       manifold samples are in fact from the same bunker stem.

3.17   Furthermore, the bunker fuel delivered to the vessel would be a mixture of the fuel
       from both tanks therefore the separate results for the two individual tanks would not
       be representative of the quality of the fuel actually being delivered to the vessel. As
       such, the individual barge tank results cannot be compared to barge line and vessel
       manifold samples on a statistical basis.




4.0    PROCEDURE FOR BUNKER FUEL SAMPLING DURING BUNKERING
       OPERATIONS

4.1    The ISO 8217:2017 specification, which the subject bunkers were supplied under,
       references the ISO 13739 standard with regards to sampling of bunker fuels for
       analysis.


4.2    ISO 13739 ‘Petroleum products – procedures for the transfer of bunkers to vessels’
       specifies procedures and requirements for the transfer of bunkers to vessels, including



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     guidance on sampling in order to obtain a representative sample of the delivered
     bunkers. In particular, Section 9.2 and Annex L of the standard states the following:


     9.2   Sampling procedure and equipment


     9.2.1 The sampling procedure is given in Annex L.


     9.2.2 A single sample shall be drawn continuously throughout the delivery, from
     either end of the bunker hose, using an automatic sampler or a continuous drip
     sampling device (see Annex M). The guidelines for the sampling of fuel oil for
     compliance with Annex VI of MARPOL 73/78 are for the sample to be drawn by the
     Cargo Officer, using a sampling device at the receiving vessel’s inlet bunker manifold.
     It is recommended that the commercial samples and the MARPOL sample be derived
     from this single sample.

     …

     Annex L (normative)

     Sampling Procedure

     L.1   The procedure for bunker sampling shall be as given in L.2 to L.11

     L.2   Before delivery of bunkers, the Cargo Officer and the Chief Engineer shall
     inspect the sampling equipment as given in Annex K.

     L.3   The shall jointly ensure that the volume of the sample container is adequate to
     fill the number of sample bottles as agreed. They shall also ensure the sampling
     container is clean before fixing it to the end of the sampling probe.

     L.4   After the Cargo Officer and the Chief Engineer are satisfied that the sampling
     equipment meets the details given in Annex K, the sampling container shall be securely

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     sealed in the presence of the Cargo Officer and the Chief Engineer. The seal number
     shall be recorded on the tank measurement/calculation form (see Annexes H and I).

     L.5   Where a continuous drip sampler is used, the Cargo Officer and the Chief
     Engineer shall witness the setting of the needle valve on the sampling probe to ensure
     that a continuous-drip sample is collected throughout the entire duration of bunkering.


     Unless otherwise agreed, the needle valve on the sampling probe shall be sealed in
     the presence of the Chief Engineer at the commencement of bunkering and the seal
     number recorded on the tank measurement/calculation form (see examples in Annexes
     H and I). Sampling shale start simultaneously with the commencement of the
     bunkering operation. When any adjustment of the needle valve is required, the Cargo
     Officer and the Chief Engineer shall witness the adjustment and record the change of
     seal number.


     L.6   Upon completion of bunkering, the Cargo Officer and the Chief Engineer shall
     confirm that the security seals of the sampling container and the needle valve are not
     tampered with.


     L.7   After the Cargo Officer and the Chief Engineer are satisfied with the sample
     collected in the sampling container, the sample shall be thoroughly shaken or stirred
     to promote homogeneity.


     L.8   The sample is then poured in small, equal portions into at least four sample
     bottles, making three or four passes to fill each bottle in turn to obtain nominally
     identical samples. The minimum quantity in each sample bottle shall be 750 ml.


     L.9   These sample bottle shall be distributed as follows:


     a) two for the vessel, one of which is a MARPOL sample;

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      b) two retained by the bunker tanker;
      c) one for the Bunker Surveyor, if engaged;
      d) one for fuel testing services, if required.


      If the Cargo Officer and the Chief Engineer agree that additional bottles should be
      filled from the sample, their distribution and seal numbers shall also be recorded.


      L.10 All sample bottles shall be closed and sealed in the presence of the Cargo Officer
      and the Chief Engineer. The seal numbers and, if used, counter seal numbers of all
      samples taken during this bunkering shall be recorded on the respective sample labels
      and on the bunker delivery note.


      L.11 On completion of the bunkering and sampling operations, sample labels shall
      be completed, signed, stamped and pasted on the respective sample bottles by the
      Cargo Officer and the Chief Engineer. No sample labels shall be signed and stamped
      prior to the completion of the bunkering and sampling operations.


4.3   Paragraph 9.2.2 of the ISO 13739 standard indicates that a continuous drip sample
      should be drawn from either end of the bunker hose (i.e., barge manifold or vessel
      manifold) during the bunker operation and that such samples would be considered
      representative of the subject bunkers at the point of delivery.


4.4   Furthermore, the IMO MEPC Circular 875 ‘Guidance on best practice for fuel oil
      suppliers for assuring the quality of fuel oil delivered to ships’ also provides guidance
      on the process for obtaining representative samples of a bunker fuel when delivered to
      a vessel. In particular, Section 9 of the circular states the following:

      9   Representative sampling

      9.1 Sampling is an integral part of quality control and vital in protecting the interest
      of all parties involved. Samples may be used as evidence both for commercial,
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     regulatory or even criminal disputes and in court cases. The objective is to obtain
     samples that are truly representative of the product being transferred, both during
     delivery to ship and upstream in the supply chain as appropriate prior to the bunker
     delivery.


     9.2   To ensure samples are representative, a single primary sample for each grade
     of fuel delivered from each tanker/barge or truck should be drawn continuously
     throughout the entire product transfer by either an automatic sampler or manual
     continuous drip sampler.

     9.3 While a fuel oil supplier may use ISO 13739 and ISO 3171 for automatic pipeline
     sampling, ISO 3170 for manual methods or some other protocol for obtaining samples,
     it should be remembered that MARPOL Annex VI sets out the procedures for
     compliance and enforcement which includes resolution MEPC.182(59) on the 2009
     Guidelines for the sampling of fuel oil for determination of compliance with the revised
     MARPOL Annex VI.

     9.4   The sample taken during delivery or from a tank should be collected in a clean
     container of sufficient quantity to be divided into the required number of sub-samples
     which in turn should be sufficient to carry out the required tests, typically 500-750 ml
     per sub-sample and in any case no less than 400 ml.


     9.5   The contents of the single original sample should be decanted into the required
     number of clean sub-sample containers. This will typically involve agitating the bulk
     container and partially filling each sub-sample container in turn to a quarter or a
     third of their capacity, then repeating the process (agitating and decanting) until all
     the sub-sample containers have been filled.

     9.6 The entire process, including sealing and labelling the sample containers, should
     be witnessed by representatives for both parties (the party supplying a cargo or
     product and the receiving party) and the resulting unique sample seal numbers

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     recorded on the relevant documentation (e.g. the BDN) and countersigned by
     representatives for both parties.

     9.7   Employing the services of an independent surveyor to oversee and witness the
     process may also be considered, in which case all sample seal numbers pertaining to
     the sampling should be recorded by the bunker surveyor in the sample witnessing and
     receipt.


     Sampling in the supply chain

     9.8   Sampling and testing should be carried out and documented at each point of
     product custody transfer throughout the supply chain.

     9.9   A representative sample should be collected when loading bunker supply ships
     from shore tanks, floating storage facilities and tankers. The recommended method is
     a sample drawn throughout the loading at the point of custody transfer. The sampling
     should be witnessed and the resulting sample containers sealed, labelled and
     countersigned by representatives for both the cargo recipient and the tank terminal.

     9.10 The supplier should retain the cargo transfer samples for at least 30 days. In the
     event of a quality dispute arising, samples should be kept until the dispute has been
     resolved.

     Sampling during delivery to ship

     9.11 Suppliers should follow the 2009 Guidelines for the sampling of fuel oil for
     determination of compliance with the revised MARPOL Annex VI (resolution
     MEPC.182(59)) which states that the supplier should provide a MARPOL sample
     drawn by the supplier's representative at the receiving ship's bunker inlet manifold.

     9.12 If for safety or practical reasons the supplier's representative cannot move
     between the barge and the receiving ship to be physically present, the process may be
     observed visually by alternative means.

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      9.13 To facilitate effective remote witnessing of drawing of commercial samples,
      visibility of the sampling equipment on bunker barge can be improved by marking the
      sampling zone with high visibility tape or paint.

      9.14 The final resulting sample containers should be sealed, labelled and
      countersigned by representatives for both parties.


      9.15 The supplier's representative commercial samples should be retained by the
      supplier for a minimum of 30 days. In the event of a quality dispute arising during the
      sample retention period, the samples should be retained until the dispute has been
      resolved.

4.5   Similar to ISO 13739, paragraph 9.2 of the IMO MEPC Circular 875 states that for a
      sample to be representative of the material delivered, it should be drawn continuously
      throughout the product transfer by either an automatic or manual continuous drip
      sampler.


4.6   Given that the BDN samples drawn from the barge are described as external line
      samples rather than a continuous drip manifold sample (as the vessel manifold samples
      are), it is likely that the BDN samples were not drawn in the correct manner.

4.7   In addition, paragraph 9.11 of the circular states that the MARPOL sample (which can
      be used for determination of whether the fuel complies with MARPOL Annex VI) has
      to be drawn at the receiving ship’s bunker inlet manifold, which in this case would be
      the manifold of the SHANGHAI.

4.8   Notwithstanding the above, it is also noted that paragraph 9.2.2 of ISO 13739
      recommends that the commercial samples and the MARPOL sample should be derived
      from the same sample. As such, it would therefore be the case that the samples drawn
      from the vessel manifold should equally be representative for the determination of the
      fuel quality at the time of delivery.
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4.9     As such, on basis of the above, the samples drawn from the vessel manifold would be
        representative of the fuel at the time of delivery and therefore the results of same
        should also be taken into account when determine the quality of the subject bunkers.

4.10    Furthermore, given that it is probable that the BDN samples were not drawn in the
        correct manner as well as the vessel storage tank sample showing equally high levels
        of catfines, in my opinion, the vessel manifold sample would be considered to be the
        samples that are representative of the actual quality of the bunkers supplied to the
        vessel.


I affirm and state under the penalty of perjury under the laws of the United States of America
that the foregoing is true and correct.



Executed on: the 1st day of February 2023 at Antwerp, Belgium.




                                                            ________________________
                                                            Mr Pierre de Jager
                                                            MChem CHons RSci, MRSC
                                                            Director
                                                            CWA International Ltd




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                            APPENDIX


             CV OF MR PIERRE DE JAGER
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       Pierre Johannes De Jager



       Qualifications                          MChem CHons in Medicinal Sciences, University of
                                               Southampton

       Affiliations                            Member of the HMC 3 Committee, Energy Institute,
                                               advising on petroleum measurement and standards.
                                               Registered Scientist, RSci
                                               Member of Royal Society of Chemistry, MRSC
                                               Member of the Energy Institute, MEI

       Date of Birth                           1985

       Nationality                             British

       Contact                                 cwa@cwa.uk.com
                                               http://www.cwa.international
                                               +44 (0) 20 7242 8444



       Current Position at CWA

       Chemist / Surveyor

       Pierre joined CWA’s Oil and Chemicals department as a Chemist, having completed his
       Masters in Chemistry at Southampton University and became a Director in 2019. His academic
       background included Organic, Inorganic and Physical Chemistry as well as Pharmacology.
       Pierre has also considerable laboratory experience, in particular, in the field of electrochemistry
       where he worked on modifying platinum microelectrodes to optimise oxygen concentration
       measurement at sea. Furthermore, Pierre’s analytical lab experience also covers a broad range of
       lab testing skills in the petroleum sector including modern chromatography and spectroscopy
       techniques together with advanced microscopy (scanning electron microscopy) studies. Pierre
       is the CWA representative serving on the Energy Institute HMC 3 Committee advising on
       aspects of petroleum measurement and custody transfer. Expert witness.




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       Specific Expertise and Experience at CWA

       Process Materials and Cargoes

       Pierre has experience of attending and advising on contamination incidents affecting a number
       of cargoes, including Gas carrier cargoes, Ethane, LPG-propane/Butane; Isoprene, Butadiene,
       Ammonia; VCM; Chemical carrier cargoes including: Acetone; Palm oil (olein, stearine, kernel
       oil); Rapeseed Oil (all grades): Sunflower Oil (all grades): Benzene, Toluene, Xylene (BTX)
       aromatics; Hexamethylenediamine (HMD); Hexene; Methanol; Mono, Di and Tri ethylene
       glycol (MEG, DEG, TEG), Acrylonitrile (ACN), Caustic Soda, Ethanol, Phosphoric acid and
       Petroleum cargoes including, Very Low Sulphur Fuel Oil (VLSFO); Crude oils; Slurry Oil;
       Jet A-1; Fuel oil (light, medium, heavy); Bitumen; Gas oil/Diesel grades; Gasoline (all grades)
       Naphtha; Methyl tertiary – butyl ether (MTBE).

       Pierre has also given evidence in several Arbitration and High Court matters involving residual
       marine bunker fuel oil grades where contamination by chemical species identified by gas
       chromatography mass spectrometry and other investigative techniques were alleged.

       Field Attendances

       Pierre has attended Gas carriers, Oil/Chemical tankers, bulk carriers and container ships, and
       numerous Laboratories and Refineries. Attendance assignments include Odessa; Kirovograd,
       Ilyichevsk, Europort, Immingham, Santos, Rotterdam, Antwerp, Le Havre, Iskenderun,
       Jebel Ali, Fujairah, Sohar, Las Palmas, Sharjah, Dubai, Southampton, Teesport, Thurrock,
       Nigeria, Malaysia, Aruba, Mozambique, Santa Domingo, Singapore, Shanghai, Ningbo,
       South Africa, Spain, Portugal, Bermuda, Curacao, Gibraltar, Zhangjiagang, Hong Kong,
       Grangemouth, Rafnes, Nyborg, Denmark and other European countries. Surveying experience
       includes inspection of cargo tanks, ballast tanks, tank suitability conditioning surveys,
       inspection of steam heating coil systems, pressure testing of gas carrier liquefaction plant, along
       with various sampling techniques used aboard vessels. Pierre has also advised on alleged VLSFO
       contaminations, water contamination incidents and undertaken supervision of de-bottoming
       operations of petroleum products and edible oils. Bulk ship hatch and hold survey, suitability
       survey to load to grain standard. Container dangerous goods survey for self-ignition incident;
       IMDG Code mis-declaration survey.



       Summary of Previous Employment

       July 2010 – December 2010                   Merck Chemicals
                                                   Southampton

       Development, formulation and printing of organic light emitting diodes. Responsibilities
       included analysing data collected from experiments, formulating polymer photoresists and
       organic light emitting diode inks. Results of this assignment were used to optimise processes
       such as formulation of low surface energy photoresists and to improve the interaction of organic
       light emitting diode inks on various substrates. Co-inventor of low surface energy photoresists
       (patent pending).

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